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                        UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA

                                          AT BECKLEY


UNITED STATES OF AMERICA


v.                                                    CRIMINAL ACTION NO. 5:23-cr-00133


ANDREW FLESHMAN



                                              ORDER

               On November 2, 2023, came the Defendant, in person and by counsel, along with

the Assistant United States Attorney, for a hearing respecting Defendant’s guilty plea to Count

One.

               First, following inquiry, the Court found the Defendant competent to proceed.

Second, the Assistant United States Attorney summarized and tendered the signed plea agreement.

Third, the Defendant waived the reading of the Information. The Defendant then pled guilty to

Count One of the Information.

               The Court assured Defendant understood – and knowingly and voluntarily waived

-- his right to an indictment. Defendant then signed a Waiver of Indictment.

               Fourth, the Court read the material portions of the statute violated and explained

the elements of proof. Following further inquiry, the Court found a supporting factual basis for the

guilty plea. Fifth, after explaining the nature of the charge and the consequences of pleading guilty,

the Court found that the Defendant understood. Sixth, the Court was also satisfied during its

colloquy -- and found -- that the Defendant understood the constitutional and other rights forfeited
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      by pleading guilty. In conclusion, the Court further assured and found that the Defendant’s plea

      was voluntary.

                       Based upon the foregoing, the Court (1) deferred acceptance of the plea agreement

      pending sentencing, and (2) adjudged the Defendant guilty. The Defendant is deemed convicted

      of the charged offense.

                       The Court ORDERS that the following dates and case events culminating in the

      Judgment be scheduled as follows:

Date for Probation Office to send draft presentence report to the parties               12/28/2023
Date for parties’ objections to the draft presentence report                             1/11/2024
Date for Probation Office to send final presentence report to the Court                  1/25/2024
Date for parties to file sentencing memoranda (five-page limit)                           2/1/2024
Date for sentencing                                                               2/22/2024 @ 10:00 a.m.


                       The Defendant is released upon execution of a $10,000 unsecured bond, subject to

      the conditions set forth in the Order Setting Conditions of Release.

                       The Court DIRECTS the Clerk to send a copy of this Order to the Defendant and

      counsel, to the United States Attorney, to the United States Probation Office, and to the Office of

      the United States Marshal.

                                                    ENTER:         November 6, 2023




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